                                                                           Case 2:18-ap-01050-NB              Doc 17 Filed 05/25/18 Entered 05/25/18 10:20:11           Desc
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                                                                       1     Debra I. Grassgreen (CA Bar No. 169978)
                                                                             Malhar S. Pagay (CA Bar No. 189289)
                                                                       2     Steven J. Kahn (CA Bar No. 76933)
                                                                             PACHULSKI STANG ZIEHL & JONES LLP                                 FILED & ENTERED
                                                                       3     10100 Santa Monica Blvd., 13th Floor
                                                                             Los Angeles, California 90067
                                                                       4     Telephone: 310/277-6910                                                MAY 25 2018
                                                                             Facsimile: 310/201-0760
                                                                       5     E-mail: skahn@pszjlaw.com
                                                                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                                                                               Central District of California
                                                                       6     Attorneys for Plaintiff Richard M. Pachulski, Chapter 11          BY francis DEPUTY CLERK
                                                                             Trustee for the Bankruptcy Estate of Layfield & Barrett,
                                                                       7     APC
                                                                                                                                        CHANGES MADE BY COURT
                                                                       8
                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                       9
                                                                                           CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
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P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                             In re:                                               Case No.: 2:17-bk-19548-NB
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                                                                             LAYFIELD & BARRETT, APC,                             Chapter 11
                                         LOS ANGELES, C ALIFO R NIA




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                                                                      14                                          Debtor.

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                                                                             RICHARD M. PACHULSKI, Chapter 11                     Adv. Case No.: 2:18-ap-01050-NB
                                                                      16     Trustee for the bankruptcy estate of Layfield &
                                                                             Barrett, APC,                                        [PROPOSED] JUDGMENT AFTER
                                                                      17                                                          DEFAULT
                                                                                                          Plaintiff,
                                                                      18                                                          Hearing Date: May 22, 2018
                                                                             vs.                                                  Time:         11:00 a.m.
                                                                      19                                                          Place:        Courtroom “1545”
                                                                             LAYFIELD V, LLC, a Delaware limited                                255 E. Temple Street
                                                                      20     liability company and PHILIP LAYFIELD, an                          Los Angeles, CA 90012
                                                                             individual,
                                                                      21
                                                                                                          Defendants.
                                                                      22

                                                                      23              Having considered Plaintiff’s Motion for Default Judgment under LBR 7055-1 (adv. dkt. 12),

                                                                      24     the evidence and memorandum of points and authorities (adv. dkt. 13) in support thereof, and good

                                                                      25     cause appearing therefor,

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                                                                       1             IT IS ORDERED, ADJUDGED, AND DECREED as follows:

                                                                       2             1.       Judgment is entered in favor of Richard M. Pachulski, in his capacity as Chapter 11

                                                                       3     Trustee for the bankruptcy estate of Layfield & Barrett, APC, and against Defendants, Layfield V,

                                                                       4     LLC, a Delaware limited liability company and Philip Layfield, an individual.

                                                                       5             2.       The transfers from Layfield & Barrett, APC, to Layfield V, LLC, of Layfield &

                                                                       6     Barrett, APC’s interests in that real property (the “Transfers”) described as:

                                                                       7                      (a)    Unit 200, Toll Creek Village 2, a Utah Condominium Project,
                                                                                                     together with their appurtenant undivided ownership interest in and
                                                                       8                             to the Common Areas and Facilities, as established and described in
                                                                                                     the Record of Survey Map recorded September 2, 2005 as Entry No.
                                                                       9                             749495, and the Declaration of Covenants, Conditions and
                                                                                                     Restrictions of Toll Creek Village Office Condominiums, recorded
                                                                      10                             September 2, 2005 as Entry No. 749496 in Book 1730 at page 1816,
                                                                                                     and Toll Creek Village 2, a Utah Condominium Project, recorded
                                                                      11                             February 27, 2008 as Entry No. 838524 and the Amendment to
                                                                                                     Declaration of Covenants, Conditions and Restrictions of Toll Creek
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                                                                      12                             Village Office Condominiums recorded February 27, 2008 as Entry
                                                                                                     No. 838525 in Book 1916 at page 1360, records of Summit County,
                                                                                                     Utah. TCVC-2-200; and
                                         LOS ANGELES, C ALIFO R NIA




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                                                                                              (b)    Units 210 and 220, Toll Creek Village 2, a Utah Condominium
                                                                      14                             Project, together with their appurtenant undivided ownership interest
                                                                                                     in and to the Common Areas and Facilities, as established and
                                                                      15                             described in the Record of Survey Map recorded September 2, 2005
                                                                                                     as Entry No. 749495, and in the Declaration of Covenants,
                                                                      16                             Conditions and Restrictions of Toll Creek Village Office
                                                                                                     Condominiums, recorded September 2, 20015 as Entry No. 747496
                                                                      17                             in Book 1730 at page 1816, and Toll Creek Village 2, a Utah
                                                                                                     Condominium Project, recorded February 27, 2008 as Entry No.
                                                                      18                             838524 and the Amendment to Declaration of Covenants, Conditions
                                                                                                     and Restrictions of Toll Creek Village Office Condominiums
                                                                      19                             recorded February 27, 2008 as Entry No. 838525 in Book 1916 at
                                                                                                     page 1360, records of Summit County, Utah. TCV-2-210 and
                                                                      20                             TCVC-2-220
                                                                      21     (collectively, the “Subject Real Property”) effectuated through Quitclaim Deeds recorded with the

                                                                      22     Summit County, Utah Recorder on April 17, 2017, assigned Document Nos. 01-067476 and

                                                                      23     01-067478 (collectively the “Quitclaim Deeds”) are hereby avoided.

                                                                      24             3.       All right, title and interest of Layfield & Barrett, APC in the Subject Real Property

                                                                      25     immediately preceding the execution of the Quitclaim Deeds is hereby transferred to and vested in

                                                                      26     the bankruptcy estate of Layfield & Barrett, APC.
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                                                                       1             4.       The Trustee and the Summit County, Utah Recorder are authorized to take any

                                                                       2     actions necessary and appropriate, including, without limitation, the recordation of this Order and/or

                                                                       3     any other document in the chain of title of the Subject Real Property in the records maintained by the

                                                                       4     Summit County, Utah Recorder, to evidence the avoidance of the Transfers and the vesting of title to

                                                                       5     the Subject Real Property in the bankruptcy estate of Layfield & Barrett, APC.

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                                                                               Date: May 25, 2018
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